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February 11, 2021 Call with Amanda Kramer

Present on Conference Call:
    AUSAs Lara Pomerantz & Maurene Comey
    FBI Special Agent Amanda Young
    Amanda Kramer
    Covington & Burling LLP General Counsel, Steve Anthony

AK’s recollections regarding February 29, 2016 Meeting:
   AK confirmed the handwritten notes sent to AK by LP were AK’s own notes from the
       February 29, 2016 meeting.
   In advance of the meeting, AK remembers Pete Skinner reaching out to AK and asking if
       he could come in to present on a potential case with some other attorneys. AK doesn’t
       recall how Skinner contacted AK. Skinner was at Boies Schiller at the time, Skinner and
       AK are friends and were in the SDNY USAO together. At this time, AK was the Human
       Trafficking Coordinator and believes she was also the Project Safe Childhood
       Coordinator.
   Meeting took place in a conference room at 1 St. Andrews Plaza USAO SDNY. Pete
       Skinner, Brad Edwards, Stan Pottinger, and AK were at the meeting.
           o AK doesn’t recall what each attorney’s role was, but her notes say that they
               represented Virginia Roberts. AK also understood that Edwards was involved in
               representing multiple individuals in a civil litigation involvi ng the CVRA, but AK
               is not certain of that.
           o AK understood that Skinner or his colleagues at Boies were representing Virginia
               Roberts. AK doesn’t know if Skinner was involved in representing Roberts.
           o Brad Edwards did most of the talking during the meeting.
           o AK recalls that Pete Skinner spoke a little bit, but AK doesn’t recall what, if
               anything, he said on substance. AK doesn’t remember what he said.
   AK understood the purpose of the meeting to be the attorneys presenting information that
       they believed or suggested should be the subject of a criminal investigation into Jeffrey
       Epstein.
           o AK understood that the attorneys were advocating that the Jeffrey Epstein case
               should be investigated by SDNY.
   LP directed AK to references to lawsuits on pages 4 and 7 of AK’s notes from the
       meeting, and asked what AK recalls about what civil lawsuits she learned of during the
       meeting.
           o AK remembers there was a CVRA lawsuit that was mentioned.
           o AK remembers that there were other civil lawsuits mentioned. Aside from what
               is in AK’s notes, AK has no memory of what those lawsuits were about or the
               nature of those lawsuits.
           o AK does not have an independent memory of the Guiffre v. Maxwell lawsuit
               being mentioned, and her memory is not refreshed from looking at the notes.


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   LP directed AK to “they will send me affidavits and depositions” on page 8 of AK’s
    notes and asked if AK recalls what that line refers to and whether the attorneys sent AK
    any such materials.
        o AK does not recall what that line refers to.
        o AK does not recall if the attorneys sent her any such materials after the meeting.
        o AK does not believe the attorneys provided her any materials during the meeting.
        o AK has a vague memory that the attorneys sent her something by email, but does
            not recall what it was.
                  One of the emails LP sent to AK was an email from Skinner to AK the
                     evening of February 29, 2016 after the meeting sending AK documents.
                     AK does not remember the particular documents she received. AK does
                     not recall receiving any additional documents.
   AK remembers the mention of several people, including Ghislaine Maxwell as either in
    the context of who had benefited from the Florida NPA or who the people were that had
    worked for or helped Epstein. AK doesn’t recall much specifics about Maxwell.
    Maxwell was not a focus of the meeting.
   AK does not recall the attorneys saying anything about what charges the office could
    bring. Related to that, AK recalls asking questions to understand what kind of charges
    they were proposing because it was not clear. The attorneys did not present particular
    statutes that might be pursued.
   AK recalls trying to understand what prior statements of Virginia Roberts existed in the
    context of assessing how much of a record there already was. AK recalls that the
    information about civil lawsuits came up when AK asked the attorneys what record there
    was of Roberts’s statements about Epstein, either in the context of the Florida case or
    otherwise.
        o AK’s notes don’t jog AK’s memory of what she learned about Virginia Roberts’s
            prior statements.
        o AK does remember that there was some civil litigation, including CVRA
            litigation and some other civil case, and not just involving Virginia, but also civil
            litigation involving other potential witness or witnesses. AK’s takeaway was that
            there was a large and potentially complicated record of civil l itigation that would
            have to be at some point parsed through in assessing what any potential witness
            had said. It wasn’t only that there was civil litigation involving Virginia, but there
            was also some person in Europe involved in litigation. AK felt this was a
            situation where there would be a lot of material to gather and read before talking
            to witnesses.
   AK doesn’t remember being told any specific allegations victims had made against
    Maxwell. AK generally remembers Maxwell being mentioned as someone who had
    worked for Epstein.
        o Notes reflect that Maxwell was “head recruiter,” but AK does not recall that
            description being attributed to any particular witness



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      AK’s recollection is that the attorneys did not make any suggestions regarding what
       investigative steps SDNY should take. The attorneys did not suggest that SDNY use
       civil lawsuits as a means to conduct a criminal investigation.
      Discussion of Epstein’s conduct expanded beyond Virginia Roberts. Attorneys described
       the conduct as involving many or several other girls. There was more detail provided
       about Virginia Roberts’s experience, but there was a broader discussion about Epstein’s
       conduct as a pattern and long-running, if not ongoing, behavior that continued after
       Virginia was no longer involved.
      AK’s understanding was not that the attorneys were hoping SDNY would investigate or
       charge anyone other than Epstein. The meeting was focused on Epstein. There was
       mention of other people who had helped him over time, including an individual who was
       in Europe and potentially was a source of evidence against Epstein. The thrust of the
       discussion was about building a case against Epstein. The other individuals were
       mentioned or described as part of telling the story, or as potential sources of information.
      AK does not remember exactly what she said at the end of the meeting, but she knows
       her practice was that in every such meeting she has ever had, she has thanked the people
       for coming in and been completely non-committal and non-responsive about what the
       office would do about the information that was provided.
           o AK absolutely did not tell the attorneys that an investigation would be opened.

Events after February 29, 2016 meeting:
    After the February 29, 2016 meeting, AK emailed Dan Stein (Chief of Criminal Division
       at the time). Had a meeting in his office. AK discussed with Stein what the lawyers had
       shared, AK’s thoughts, and Stein’s thoughts. Decided on an action plan.
            o AK knew there was the pending CVRA civil case and other civil litigation, which
                gave AK some pause because she had other occasions where civil litigants have
                decided to report something to the USAO because they think it will help them in
                their civil case. AK mentioned that to Stein.
            o Discussed the length of time that had passed; wasn’t clear there was any ongoing
                conduct; USAO SDFL is a reputable USAO with skilled FBI agents, and AK’s
                assumption was that however they concluded their case probably reflected
                something about the strength of the case or some issue that existed.
            o One thing that leaned in favor of taking action was that one of the lawyers (Stan
                or Brad) said that FBI agents in Florida case were not happy with the result and
                how the case was resolved. That concerned AK because experienced FBI agents
                in this area usually, in AK’s experience, make collaborative decisions with the
                USAO.
            o AK & Stein decided (don’t recall who came up with idea) that AK would reach
                out to Sean Watson (head of FBI C-20 at the time) and ask him to contact Miami
                FBI agents to ask if they in fact were unhappy with the outcome and felt like
                justice had not been served.
    After the meeting with Stein, AK called Sean Watson and relayed the summary of this
       and asked him to reach out to the Miami agents who were on the Epstein case. AK asked

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       Sean to call AK back and let her know if the Florida agents had concerns. Sean never
       called AK back. AK doesn’t recall ever affirmatively following up with Sean, but she
       took the radio silence to mean that the FBI agents in Florida did not express
       dissatisfaction.
      No investigation was opened as a result of the February 29, 2016 meeting.
      No investigation into Epstein was opened while AK was the Human Trafficking
       Coordinator and Project Safe Childhood coordinator.
      AK never met with any other Boies Schiller attorneys. AK does not recall ever speaking
       with David Boies at any point.
      AK never met with the attorneys from the February 29, 2016 meeting again.
      When asked what, if any, communications AK had with the attorneys, AK noted that she
       sees an email from May 2016 with Stan Pottenger. AK believes it’s possible Stan called
       AK, but she does not remember that.
      AK does not recall any further conversations re Epstein in SDNY until much later when
       the Miami Herald series was published.

AK confirmed she has read the Daily News Article LP sent
   AK indicated that the article did not accurately describe AK’s interactions with attorneys
      for Virginia Roberts.
   AK’s recollection is not that attorneys urged SDNY to open an investigation into “the
      duo.” They were focused on Epstein. Maxwell was mentioned in passing, not as a target.
   AK did not participate in a second meeting with anyone. Had there been a meeting on
      this subject in the summer of 2016 in SDNY, AK would have known about it in her
      capacity as Human Trafficking Coordinator.
          o AK had been in that role since approximately 2010, and if someone came in to
              meet with a unit chief about a potential human trafficking matt er, AK would get
              contacted about the meeting. AK met with chiefs to gather information about any
              cases they had that touched on human trafficking so that AK could coordinate. So
              if a second meeting had taken place with a supervisor in the office, AK would
              have known about it. Dan Stein also would have brought AK in if he learned of a
              second meeting.
          o AK would have made a record if there had ever been a second meeting. AK
              would remember if there were a second meeting. She has no record and no
              memory of any second meeting.
   AK does not recall ever speaking with or meeting David Boies in her life, so to her
      knowledge, Boies was not making any effort to persuade SDNY to investigate Epstein.
      AK noted it is possible Boies could have been on the phone if Stan Pottinger called AK
      in or around May of 2016, but AK has no recollection of such a call.
   AK does not recall the attorney presentation being framed on highlighting Maxwell’s
      assistance with Epstein’s sexual abuse. It was not presented as a “duo.” AK recalls the
      mention of a pilot and the mention of someone having an address book, so other people
      were mentioned as part of telling the story of Epstein.


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   AK did not express any concerns about anything to the attorneys. AK may have asked
    something like whether the attorneys are asking SDNY to re-do the Florida investigation
    because AK was trying to understand what the attorneys were proposing: was it looking
    at the same conduct that was investigated in Florida and mishandled, or was it looking at
    different conduct and possibly ongoing conduct? AK recalls asking questions to clarify
    that point.
   AK is sure one of the things she asked would have been venue oriented to understand
    what the attorneys were describing and what the conduct was. AK would not have
    responded to a question asking about why AK wouldn’t just open an investigation.
    Purpose of the meeting was for AK to understand what the attorneys were trying to
    convey, not for AK to make any representation about her thoughts or what she was going
    to do.
   Brad Edwards’s book suggesting that the AUSA seemed “confident that a case would be
    brought” does not seem accurate to AK. AK did not intend to give such an impression
    during the meeting. That decision is not one for AK to make alone, in any event.
   AK does not recall any mention that the number of victims in NY far exceeded the
    number in Florida.
   Brad Edwards’s description of wanting a case against Epstein is consistent with AK’s
    recollection that the focus was on Epstein.
   If anyone called AK, she does not remember that, and she would not have mentioned the
    comity shown to other USAOs around the country.
   AK does not recall anyone ever approaching her to ask if SDNY would consider charging
    Maxwell with perjury.
         o AK has a vague memory that the attorneys called or emailed AK at some point
            and told her that there had been depositions, presumably by contact from one of
            these lawyers, but AK cannot recall the specifics. AK does not remember one
            way or the other if any of the attorneys referenced the possibility of perjury.
         o AK recalls thinking that a perjury investigation would have the same challenges.
            AK recalls thinking in her mind that if the depositions were about the underlying
            conduct that had all of the issues that gave AK pause after the meeting (length of
            time that had passed, sense there must have been a reason SDFL resolved the case
            the way they did) were not alleviated by a perjury-based prosecution.
         o AK does not recall ever knowing anything about the substance of the depositions
            and does not remember anyone sending her a deposition transcript.
         o AK does not remember who had been deposed or who might have been the
            subject of a possible perjury investigation.
         o No investigation into perjury was ever opened.
   AK took no further action re Epstein after calling Sean Watson.
         o Though there may be emails or calls AK cannot remember, she knows that she
            took no action after the call to Sean Watson. Part of the reason AK felt horrible
            when reading the Miami Herald article was because AK took no action after
            calling Sean Watson.


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When the Topic of Epstein Came Back up with the Miami Herald Article
   Arose when AK was in Securities. AK was no longer the Human Trafficking
      Coordinator or the Project Safe Childhood Coordinator.
   AK may have told someone that there had been a presentation for SDNY to prosecute
      Epstein. AK read the article and was very disturbed to read about how the case was
      resolved in SDFL, which was inconsistent with AK’s assumptions when the case was
      presented by the attorneys in February 2016.
   AK remembers speaking with someone in Public Corruption about the February 29, 2016
      meeting and shared her notes and emails with Public Corruption.
   AK remembers that someone from the original case team (thinks Alison Moe) came by
      her office and they chatted. AK may have also spoken with Alex Rossmiller or Ted
      Diskant, but is not sure.
          o When speaking with members of the Public Corruption team: AK remembers
              telling them that she felt terrible reading the Miami Herald series. AK remembers
              telling them that she had the impression that the lawyers who came in to meet
              with AK were disorganized, and AK’s impression was that they thought it would
              help the CVRA case if SDNY opened a criminal case.
          o AK is sure that she gave Alison whatever she had, including the notes that LP
              emailed AK. AK handed to Alison whatever was in AK’s folder.
          o AK does not remember having any documents or receiving any documents from
              the Roberts attorneys.
          o AK remembers understanding that Public Corruption had opened an investigation
              into Epstein.
   AK did not play any role in opening the SDNY investigation into Epstein.
   To AK’s knowledge, AK has not received any discovery materials from any civil case.




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